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                                  IN THE UNITED BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


     In re:                                                     Chapter 11

     CBC RESTAURANT CORP., et al.,1                             Case No. 23-10245 (KBO)
                                                                (Jointly Administered)
                       Debtors.
                                                                Re: Dkt. No. 648

              ORDER (I) APPROVING CASE CAPTION CHANGE AND (II) GRANTING
                                   RELATED RELIEF


              Upon the Debtors Motion for Entry of an Order (I) Approving Case Caption Change and

(II) Granting Related Relief (the "Motion");² and the Court having jurisdiction over this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended Standing Order of Reference from the

United States District Court for the District of Delaware dated February 29,2012; and the Court

having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and the Court may

enter a final order consistent with Article III of the United States Constitution;3 and the Court

having found that venue of this proceeding and this Motion in this District is proper pursuant to

28 U.S.C. §§ 1408 and 1409; and it appearing that sufficient notice of the Motion has been given;

and it appearing that the relief requested by the Motion is necessary and appropriate and in the best

interests of the Debtors' estates and their creditors; and good and sufficient cause appearing

therefor; it is hereby


1
        The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
        number, include CBC Restaurant Corp. (0801), Corner Bakery Holding Company (3981), and CBC Cardco, Inc.
        (1938). The Debtors’ service address Corner Bakery, c/o CR3 Partners, Attn: Greg Baracato, Chief Restructuring
        Offier, 12255 Noel Road, Suite 2005, Dallas TX 75240.
2.
        Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Motion.
3.
        Pursuant to Local Rule 9013-l(f), the Debtors hereby confirm their consent to entry of a final order by this Court
        in connection with this Motion if it is later determined that this Court, absent consent of the parties, cannot enter
        final orders or judgments consistent with Article III of the United States Constitution.



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             ORDERED that the Motion is GRANTED as set forth herein; and it is further


        ORDERED that the new caption for the Debtors' jointly administered Chapter 11 Cases
shall read as follows:


                               IN THE UNITED BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                          Chapter 11

    CBCRC Liquidating Corp., et al.,1               Case No. 23-10245 (KBO)
                                                    (Jointly Administered)
                    Debtors.

1
       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal
       tax identification number, include CBCRC Liquidating Corp. (0801), CBHC Liquidating
       Company (3981), and CBCCI Liquidating, Inc. (1938). The Debtors’ service address is Attn:
       Greg Baracato, CR3 Partners, 13355 Noel Road, Suite 2005, Dallas TX 75240.


       ORDERED that the Clerk of the Court is authorized and directed to make a docket entry in

case number 23-10245 (KBO) that states substantially as follows: "An order has been entered in

this case directing that the caption of this case be changed, in accordance with the corporate name

change of CBC Restaurant Corp. to CBCRC Liquidating Corp." In addition, the Clerk of the Court

is authorized and directed to modify the docket of case number 23-10245 (KBO) with the Debtor's

new name as soon as possible; and it is further

       ORDERED that the Clerk of the Court is authorized and directed to make a docket entry in

case number 23-10246 (KBO) that states substantially as follows: “An order has been entered in

this case directing that the caption of this case be changed, in accordance with the corporate name

change of Corner Bakery Holding Company to CBHC Liquidating Company." In addition, the

Clerk of the Court is authorized and directed to modify the docket of case number 23-10246 (KBO)

with the Debtor's new name as soon as possible; and it is further

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    ORDERED that the Clerk of the Court is authorized and directed to make a docket entry in

case number 23-10247 (KBO) that states substantially as follows: “An order has been entered in

this case directing that the caption of this case be changed, in accordance with the corporate name

change of CBC Cardco, Inc. to CBCCI Liquidating Inc." In addition, the Clerk of the Court is

authorized and directed to modify the docket of case number 23-10247 (KBO) with the Debtor's

new name as soon as possible; and it is further

    ORDERED that the Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion; and it is further

    ORDERED that this Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation or interpretation of this Order.




    Dated: July 5th, 2023                             KAREN B. OWENS
    Wilmington, Delaware                              UNITED STATES BANKRUPTCY JUDGE


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